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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT COURT OF FLORIDA

JACKSONVILLE FLORIDA

CASE NO
JURY TRIAL DEMANDED
James Watson
Petitioner,
And
Shiftmed Corporation
Respondent,
COMPLAINT

This Court has federal jurisdiction over both parties under the 28 U.S.C §1332, and the Fair Wages Labor
Standard Act, (FLSA) 29 U.S.C. §201, whereas Shiftmed Corporation is located 7925 Jones Branch Drive
Mclean, VA 22102, and Plaintiff resides in the state of Florida at 8681 Haverhill St Jacksonville, Fl 32211.

Facts

This action comes before the Court in a matter due to nonpayment of wages earn by Plaintiff while
working for Shiftmed on the following days on November 11-13, 19, 21, 24, and on 12-4th, 5" in 2022.
Defendant has repeatedly willfully neglected, to honor its contractual agreement between Employee
(Plaintiff) by refusing to pay wages to plaintiff due in a timely manner under its contractual agreement
payment methods, as stipulated by Defendant either orally or written, by not paying Plaintiff instant pay
or next day pay after Plaintiff has submitted his time worked.

By Defendant willfully refusing to pay Plaintiff in a timely manner as agreed, the defendant Shiftmed has
cause harm and injury to the Plaintiff by adding; nonsufficient charges of seventy dollars and overdraft
amount of two hundred fifty-four dollars, to Plaintiff bank account as stated and listed in Plaintiff
personal bank account statement. Whereas the wages due were not paid and deposited in a timely
manner as agreed into the bank account to cover payments made to Plaintiff creditors. In addition to
the above injuries Defendant has caused Plaintiff emotional distress, financial distress, and loss of
consortium.
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Defendant (Shiftmed) at one point in the month of December had stopped accepting my calls and
stopped answering chat messages in their chat room on their app from Plaintiff. Up until Friday of this
week (12-30-2022) at 4:31 PM, when Plaintiff stated he was going to bring a cause of action or have his
attorney file a lawsuit, one of Defendants workers called at 4:32 PM.

Defendant has a duty to communicate with employee (Plaintiff), pay Plaintiff wages owed in the amount
of $542.79 and $369. 28, by not having a free and open dialogue with Plaintiff, it is a willful intentional
negligence on Defendant part, to not resolve this cause of action, of willful and negligent to pay Plaintiff
the wage owed by Defendant. By refusing to resolve and address employee concerns, Defendant is in
direct violation of relationship of good faith, and breach of contract with Plaintiff.

Defendant's refusal to pay Plaintiff all monies owed from working as stated above, in timely manners as
agreed cause harm to plaintiff credit rating with Plaintiff Creditors sending derogatory late payments to
the credit bureaus which drop his credit score. With Defendant willfully refusing to pay Plaintiff this act
by Defendant has caused emotional and financial distress to Plaintiff. Defendant refusal to pay wages
due to Plaintiff in a timely manner from work performed by Plaintiff on the following days in November
on 11-13, 19, 21, 24, and in December on 4th, and 5‘ in 2022, gave Plaintiff creditors the right to start
reporting 60 days and ninety days late payments history on Plaintiff credit report.

Allegations

Count 1. Defendants cause a breach of contract between Plaintiff and Defendant by not paying Plaintiff
wages worked as stipulation either next day pay or instant pay after Plaintiff submitted his time worked
to Defendant on the days worked. Defendant was called and message by Plaintiff in Defendant’s chat
room about Plaintiff wages were not being paid on times that Plaintiff needed his wages to be paid to
pay his bills, but defendant refused to pay Plaintiff after those requests.

Even after Defendant sent Plaintiff a written confirmation of payment to be made in the chat room in its
App, that Defendant was going to make payment see exhibit #1, and #2. Shiftmed refuse to make good
on its promise, which is violation of Fair Wages Labor Standard Act, (FLSA) 29 U.S.C. §201, and breach of
contract.

Count 2. By Defendant willfully refusing to pay Plaintiff his rightfully due wages worked, Defendant
caused harm and injury with emotional distress with creditors reporting his accounts to the creditor
bureaus with sixty, ninety-day late payments and several accounts sent to collection agencies companies
on Plaintiff credit report history.

Count 3. Willful negligence of the duty to pay Plaintiff wages owed after Plaintiff contact Defendant by
telephone at least seven times and counting is an act of willful negligence.

Count 4. Loss of consortium wife because she refuses to lend Plaintiff $100 to help Plaintiff put gasoline
in his car which started her arguing about the $100 dollars and demanding | give her the money back
right away after she lent it to me.
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Count 5. This willful negligence of not paying Plaintiff wages on time as agreed prevented Plaintiff not
being able to work for two weeks, because of Plaintiff lack of funds to purchase gasoline for Plaintiff car
to get to his work assignments, which is harmful and detrimental to the economics growth of the
American society, and which added to Plaintiff financial distress of not making timely payment to his
creditors.

Wherefore, Plaintiff pray the court award punitive, general damages, special damages,
liquidated Damages, in the amount of two Hundred fifty thousand dollars for all Plaintiff injuries caused
by Defendant harm, from Defendant willful negligent to pay Plaintiff wages due, breach of contract, and
loss of consortium. In addition, Plaintiff is requesting the Court that Defendant pay Attorney fees and
Court cost related to this Complaint.

CERTIFICATE OF SERVICE

| certify to the Court that the above statements are true to the best of my ability so help me
God, and that the Defendant Shiftmed Corporation have been served, either by mail, fax, email, via

Shiftmed chat room, or by the local sheriff office.

Respectfully submitte

by
Jami¢s Watson Plaintiff Pro So
L/L ALLA
77
Date
Defendant
Todd Walrath
Shiftmed Corporation
7925 Jones Branch Drive
Mclean, VA 22102
